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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION

UNITED STATES OF AMERICA

v.                                                 No. 4:22-CR-213-P

DAVID DEVANEY, JR. (02)

 GOVERNMENT’S RESPONSE TO THE DEFENDANT’S MOTION TO SUPPRESS
                  THE SEARCH OF HIS VEHICLE

        In response and opposition to the Defendant’s Motion to Suppress the Search of

his Vehicle, the government would show the following. First, the government does not

believe a hearing is necessary for the Court to rule on the Motion because: (a) the good

faith exception provides that “evidence obtained by officers in objectively reasonable

good faith reliance upon a search warrant is admissible, even though the affidavit on

which the warrant was based was insufficient to establish probable cause.” United States

v. Satterwhite, 980 F.2d 317, 320 (5th Cir. 1992); and (b) the affidavit in the case

establishes probable cause to search the defendant’s vehicle. Second, these

determinations can be made by the Court without a hearing because there are no material

contested facts.

I.      Facts

        On June 24, 2022, Officers with the Burleson Police Department responded to a

shooting death that occurred in Burleson, Texas. (Affidavit, p. 3, para. 1.) One of the

shooting victims who survived the shooting incident identified the defendant, Devaney,

Jr., as the person who shot him. (Affidavit, p. 5, para. 21.)


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The survivor also described the drug-deal-gone-bad that immediately preceded the

shooting incident. (Affidavit, pp. 4 – 5, para. 14 – 15, and 17.) Officers secured an

arrest warrant for Devaney, Jr., based on the shooting. (Affidavit, pp. 5 – 6, para. 24.)

        On June 25, 2022, Officers found Devaney, Sr., and Cory Litts in possession of

drugs and guns. (Affidavit, p. 6, para. 25.) At the same time, Officers saw the

defendant, Devaney, Jr. drive by in a blue corvette, and a vehicle pursuit ensued.

(Affidavit, p. 6, para. 28.) Devaney, Jr. fled on foot, but was arrested on the warrant.

(Id.)   In a post-Miranda interview, Devaney, Jr. admitted to acting as security for the

drug deal his father had set up. (Affidavit, p. 6, para. 31.) And Devaney, Jr. admitted to

witnessing Devaney, Sr. and others shoot at the other drug dealers who became shooting

victims in the case. (Affidavit, p. 7, para. 34.) Another co-conspirator also said

Devaney, Jr. was involved in planning the drug deal. (Affidavit, p. 7, para. 40.) That

co-conspirator also said Devaney, Jr. shot at the shooting victims in the case. (Affidavit,

p. 8, para. 43.) Based on this information (including the defendant’s flight from law

enforcement), and the officer’s experience as summarized in paragraph 50 of the

affidavit, the affiant concluded there was probable cause to believe evidence would still

be found in the defendant’s car, the blue corvette. (Affidavit, p. 9, para. 51.) The

evidence sought by officers related to the “implements or instruments” (e.g., guns and

drugs) used in the crimes of murder and drug possession, and included the seizure of

cellular telephones. (Affidavit, p. 2.) A neutral and detached magistrate judge agreed.




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II.      Summary of the Defendant’s Argument

         The Defendant argues that any good-faith exception to the exclusionary rule does

not apply because the affidavit “so lacked indicia of probable cause that the officers’

reliance on it was entirely unreasonable.” (Defendant’s Motion, p. 7.) Given the

uncontested facts summarized above, this is a frivolous argument.

III.     Law and Argument

         A defendant seeking to have evidence suppressed generally bears the burden of

proving by a preponderance of evidence that the evidence was seized illegally. See

generally United States v. Waldrop, 404 F.3d 365, 368 (5th Cir. 2015). The Fourth

Amendment provides that “no warrants shall issue, but upon probable cause, supported

by oath or affirmation.” U.S. Const. amend. IV. “‘The bulwark of Fourth Amendment

protection’ is its requirement that ‘police obtain a warrant from a neutral and

disinterested magistrate before embarking upon a search.’” United States v. Cavazos, 288

F.3d 706, 709 (5th Cir. 2002) (quoting Franks v. Delaware, 438 U.S. at 164). “Evidence

obtained in violation of the Fourth Amendment is to be excluded in any criminal

proceeding against the victim of the violation.” Cavazos, 288 F.3d at 709.

         However, the Supreme Court held in United States v. Leon, 468 U.S. 897, 922

(1984) “that the marginal or nonexistent benefits produced by suppressing evidence

obtained in objectively reasonable reliance on a subsequently invalidated search warrant

cannot justify the substantial costs of exclusion.” The Supreme Court, therefore, has

carved out a good faith exception to the exclusionary rule of the Fourth Amendment.

The good faith exception provides that “evidence obtained by officers in objectively


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reasonable good faith reliance upon a search warrant is admissible, even though the

affidavit on which the warrant was based was insufficient to establish probable cause.”

United States v. Satterwhite, 980 F.2d 317, 320 (5th Cir. 1992). An officer relies on the

validity of the search warrant in good faith “so long as the warrant is supported by more

than a ‘bare bones affidavit.’” United States v. Alix, 86 F.3d 429, 435 (5th Cir. 1996). If

the good faith exception applies, then the Court need not look at whether the warrant was

supported by probable cause. United States v. Mays, 466 F.3d 335, 343 (5th Cir. 2006).

       The Supreme Court, however, has identified several exceptions to the good faith

rule, the one at issue being “where the affidavit is ‘so lacking in indicia of probable cause

as to render official belief in its existence entirely unreasonable….” Leon, 468 U.S. at

923. And less than a fortnight ago, in an en banc decision the Fifth Circuit had occasion

to provide more guidance on what constitutes a bare bones affidavit. United States v.

Morton, 2022 WL 3591841 (Aug. 22, 2022). In its anthological opinion, the Fifth

Circuit defined bare bones affidavits as containing “wholly conclusory statements, which

lack the facts and circumstances from which a magistrate can independently determine

probable cause.” Id. at *3, citing United States v. Satterwhite, 980 F.2d 317, 321 (5th

Cir. 1992). An example of a bare bones affidavit “said nothing more than the agent ‘has

cause to suspect and does believe that certain merchandise…has otherwise been brought

into the United States contrary to law, and that said merchandise is now deposited and

contained within’ the defendant’s home.” Id., citing Nathanson v. United States, 290

U.S. 41, 44 (1933). In addition, the Fifth Circuit provided a textbook example of a bare

bones affidavit where “the officer listed just the defendant’s ‘biographical and contact


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information’ and then stated ‘nothing more than the charged offense, accompanied by a

conclusory statement’ that the defendant committed the crime.” Id. at *4 (citation

omitted.)

       In contrasting Morton’s facts from those examples, the Fifth Circuit said the

affidavits at issue had meat on their bones: each being over three pages in length, and

detailing Morton’s arrest with drugs and cellular telephones. Id. at *4. The affidavits

essentially explained the who, what, where, and when of the crime(s) alleged and how

searching the things sought to be searched would yield evidence of those crimes. Id.

And the affidavits put these facts before a neutral and detached magistrate. Id. Finally,

in summarizing the overarching principle behind the good faith exception, the Fifth

Circuit said a judge is called upon to make judgment calls; and “[j]udgment calls in close

cases are precisely when the good-faith rule prevents suppression based on after-the-fact

reassessment of a probable-cause determination.” Id. (citation omitted.) On those facts,

the Fifth Circuit found the affidavits at issue were not bare bones affidavits, thus the good

faith exception applied. Id. at *5.

       Similarly, here the affidavit to search the defendant’s car is nine pages long, it is

extremely detailed, and it covers the who, what, where, and when of the crimes alleged to

have been committed by the defendant. Specifically, the affidavit recounts: (1) a

shooting and murder occurred in Burleson, Texas; (2) the defendant was involved in the

shooting; (3) the defendant was also involved in a drug-deal-gone-bad that precipitated

the shooting; (4) the day after the shooting, the defendant’s dad and another co-

conspirator were arrested with drugs and guns; (5) the defendant drove by and fled from


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the scene of his father’s arrest; (6) officers eventually arrested the defendant; and (7) an

officer presented these facts to a neutral and detached magistrate to search for

implements or instruments of the crimes of murder and drug possession. These facts are

vastly different from the textbook examples of bare bones affidavits anthologized by the

Fifth Circuit in Morton. And as the Fifth Circuit concluded in Morton, a judgment call

made by a neutral and detached magistrate court should not be disturbed after it has been

presented with detailed facts such as those presented here.

VI.    Conclusion

       The Defendant’s motion is frivolous and presents no contest of fact. And for the

foregoing reasons, the defendant’s motion should be denied.


                                            Respectfully Submitted,

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                              CERTIFICATE OF SERVICE

        I certify that on August 30, 2022, I electronically filed this document with the
Clerk for the United States District Court, Northern District of Texas, using the electronic
case filing (“ECF”) system. The ECF system will send a “Notice of Electronic Filing”
to all parties/counsel for record who have consented in writing to accept the Notice as
service of this document by electronic means.


                                            s/ Shawn Smith
                                            SHAWN SMITH
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